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                                             Soul Assassins, Inc.
                                      6
                                      7                            UNITED STATES DISTRICT COURT
                                      8            CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                                      9
                                     10      Soul Assassins, Inc., a California                   2:22-cv-05134
                                                                                        Case No. _________________
                                             Corporation;
                                     11                                                 COMPLAINT FOR COPYRIGHT
CSREEDER, PC
       A TTORNEYS A T L AW




                                     12                      Plaintiff,                 INFRINGEMENT
                     L OS A NGELES




                                     13            v.                                   JURY TRIAL DEMANDED

                                     14      Peloton Interactive, Inc., a Delaware
                                             Corporation;
                                     15
                                                             Defendant.
                                     16
                                     17           Plaintiff, by its attorneys, CSReeder, PC, brings this action against the
                                     18     Defendant herein and complains and alleges as follows:
                                     19
                                     20                                           THE PARTIES
                                     21           1.     Plaintiff Soul Assassins, Inc. (“Soul Assassins”) is a corporation
                                     22     organized and existing under the laws of the State of California, with its principal place
                                     23     of business in Los Angeles, California.
                                     24           2.     Upon information and belief, Peloton Interactive, Inc. (“Peloton”) is a
                                     25     corporation organized and existing under the laws of the State of Delaware, with its
                                     26     principal place of business in New York, New York. Peloton is licensed to do business
                                     27      in California and Plaintiff is informed and believes that Peloton does business in Los
                                     28     Angeles, California.
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                                                                                  COMPLAINT
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                                      1                                JURISDICTION AND VENUE
                                      2           3.     Plaintiff brings this action pursuant to, and the jurisdiction of this Court
                                      3     rests on the grounds that this is a civil action arising under, the Copyright Act of the
                                      4     United States (17 U.S.C. §101 et seq.). This court has exclusive jurisdiction over this
                                      5     action under 28 U.S.C. §§1331 and 1338(a)
                                      6           4.     Venue is proper in this District pursuant to 28 U.S.C. §§1391 (b) (1) and
                                      7     (2) and 28 U.S.C. §1400(a) in that a substantial part of the events giving rise to the
                                      8     claims occurred in the Central District of California and Defendant is licensed to do
                                      9     business in California and subject to personal jurisdiction in this District.
                                     10
                                     11                                   FIRST CLAIM FOR RELIEF
CSREEDER, PC
       A TTORNEYS A T L AW




                                     12                                     AGAINST DEFENDANT
                     L OS A NGELES




                                     13                                (COPYRIGHT INFRINGEMENT)
                                     14           5.     Each and every allegation contained in paragraph 1 through 4 of the
                                     15     Complaint is repeated and realleged as if set forth herein in full.
                                     16           6.     Soul Assassins is Lawrence Muggerud’s (“Muggerud”) music publishing
                                     17     company and Muggerud has assigned to Soul Assassins all of the copyrights that were
                                     18     originally registered in the name of Soul Assassin Music, which was a fictitious
                                     19     business name for Muggerud. Muggerud is a well-known record producer, engineer
                                     20     and songwriter. During his career Muggerud has written many well-known and
                                     21     commercial successful musical compositions.
                                     22           7.     Peloton is a well-known fitness company. Peloton sells, among other
                                     23     work-out equipment, stationary bikes and treadmills that allow users to exercise while
                                     24     watching instructor-led video workouts. It sells subscriptions to its video workouts to
                                     25     both consumers who have bought a Peloton bike or treadmill and those who use work-
                                     26     out equipment purchased from other manufacturers.
                                     27           8.     The music in the Peloton fitness videos provide the tempo for the person
                                     28     exercising. Peloton publishes a music playlist for some of its archived videos and
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                                                                                  COMPLAINT
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                                      1     allows consumers to select work-out classes based on the type of music they wish to
                                      2     hear.
                                      3             9.      Muggerud, complying in all respects with the Copyright Laws of the
                                      4     United States, as proprietor thereof secured the exclusive rights and privileges in and
                                      5     to an undivided interest in the below listed copyrights.
                                      6
                                      7                     Title               Copyright Registration No.          Ownership
                                      8                  Jump Around                  PA0001719145 &                    40%
                                      9                                                PA0001397762
                                     10             Insane in the brain                PA0000664235                     50%
                                     11              (Rock) superstar                 PA0001000721 &                    50%
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                                     12                                                PA0001009112
                     L OS A NGELES




                                     13       How I could just kill a man              PA0000796241                   13.40%
                                     14              (Rap) superstar                  PA0001000733 &                    50%
                                     15                                                PA0001009110
                                     16             Hits from the Bong                 PA0000866369                     15%
                                     17             Boom biddy bye bye                 PA0000791518                     55%
                                     18                   Real thing                   PA0000690250                     10%
                                     19        I ain’t goin’ out like that             PA0000866370                     7.5%
                                     20       Tequila Sunrise [Radio edit]             PA0000969236                     50%
                                     21              Tequila Sunrise          PA0000944323, PA0000978418,               50%
                                     22                                        PA0000969237, PA0000969240
                                     23                                              and PA0000969239
                                     24
                                     25
                                     26             10.     Muggerud assigned his interest in the above musical compositions to Soul
                                     27      Assassins. Soul Assassin’s interest in the above-described musical compositions shall
                                     28      ///
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                                                                                  COMPLAINT
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                                      1       hereinafter be referred to as “Soul Assassins’ Ownership Share of the Musical
                                      2      Compositions.”
                                      3            11.    Said musical compositions contain a large amount of wholly original
                                      4      material and constitute copyrightable subject matter under the laws of the United
                                      5      States.
                                      6            12.    Since the creation of each of the musical compositions, Plaintiff has duly
                                      7      complied with all pertinent provisions of the Copyright Act and all the laws governing
                                      8      copyright with respect to the musical compositions.
                                      9            13.    Soul Assassins discovered within 3 years of the filing of this Complaint,
                                     10       and could not have reasonably discovered earlier, that Peloton has been using without
                                     11       its permission Soul Assassins’ Share of the Musical Compositions in its work-out
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       A TTORNEYS A T L AW




                                     12       videos without Soul Assassins’ authorization.
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                                     13            14.    Peloton’s use of Soul Assassins’ Share of the Musical Compositions in its
                                     14       work-out videos without a license from Soul Assassins is an outrageous, willful
                                     15       infringement because Peloton was sued by a group of music publishers in March of
                                     16       20019, for doing the exact same thing. Clearly, based on the aforementioned lawsuit
                                     17       Peloton knew unequivocally that it had no right to use any musical composition in its
                                     18       exercise videos without first obtaining a license for one hundred percent (100%) of
                                     19       the song.
                                     20            15.    Plaintiff has not granted Peloton any right or license to use the musical
                                     21      compositions.
                                     22            16.    The continuance of the infringing acts by Peloton will, unless enjoined by
                                     23      this Court, cause Plaintiff to suffer irreparable damages.
                                     24            17.    By reason of the foregoing willful infringements and Peloton’s flagrantly
                                     25      violating the Copyright Law, Plaintiff is entitled to statutory damages of $150,000 for
                                     26      each work infringed. Alternatively, at Plaintiff’s election, Plaintiff is entitled to their
                                     27      damages and an accounting and payment to Plaintiff of all gains, profits and
                                     28      ///
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                                                                                   COMPLAINT
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                                      1      advantages Peloton derived from its copyright infringement of Soul Assassins’
                                      2      Ownership Share of the Musical Compositions.
                                      3           18.    Plaintiff has no adequate remedy at law.
                                      4
                                      5           WHEREFORE, Plaintiff demands judgment against Defendant as follows:
                                      6                  (a)    An award of statutory damages for Peloton’s willful infringement
                                      7      of $150,000 per work infringed or, alternatively, at Plaintiff’s election, an accounting
                                      8      and payment to Plaintiff of all gains, profits and advantages Peloton derived from its
                                      9      copyright infringement of Soul Assassins’ Ownership Share of the Musical
                                     10      Compositions;
                                     11                  (b)    That Peloton, their officers, agents, servants, employees and all
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                                     12      persons, firms, corporation and associations in active concert or participation with
                     L OS A NGELES




                                     13      them, be enjoined during the pendency of this action and permanently from using in
                                     14      its work-out videos any of the infringing compositions;
                                     15                  (c)   That Plaintiff have and recover its attorneys’ fees incurred herein;
                                     16                  (d)    An award to Plaintiff of the costs and disbursements, incurred in
                                     17      prosecuting this action;
                                     18                  (e)   For interest thereon; and
                                     19                  (f)   For such other and further relief as the Court deems just and proper.
                                     20
                                     21     DATED: July 25, 2022                           CSReeder, P. C.
                                     22
                                                                                           By:_____________________________
                                     23
                                                                                                Attorneys for Plaintiff
                                     24                                                         Soul Assassins, Inc.
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                                                                                 COMPLAINT
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                                      1                                          Jury Demand
                                      2
                                      3           Plaintiff demands a trial by jury.
                                      4
                                      5     DATED: July 25, 2022                       CSReeder, P.C.
                                      6
                                                                                       By:___________ __________________
                                      7
                                                                                            Attorneys for Plaintiff
                                      8                                                     Soul Assassins, Inc.
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                                                                                 COMPLAINT
